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                                   3                                    UNITED STATES DISTRICT COURT
                                   4                                  NORTHERN DISTRICT OF CALIFORNIA
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                                   8   LD, ET AL.,                                        Case No.: 4:20-cv-2254-YGR
                                   9               Plaintiffs,                            ORDER REQUESTING SUPPLEMENTAL
                                                                                          BRIEFING
                                  10          v.
                                                                                          Re: Dkt. No. 323
                                  11   UNITED BEHAVIORAL HEALTH, ET AL.,
Northern District of California




                                  12                Defendants.
 United States District Court




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                                              Pending before this Court is plaintiffs’ administrative motion for leave to file a renewed
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                                       motion for class certification. (Dkt. No. 323.) The Court denied plaintiffs’ motion for class
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                                       certification. (Dkt. No. 301.) After that Order and plaintiffs’ motion were filed, the Ninth Circuit
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                                       vacated its previous decision and issued a new opinion in Wit v. United Behavioral Health, No. 20-
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                                       17363, 2023 WL 5356640 (9th Cir. Aug. 22, 2023). Both the parties and the Court had relied on the
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                                       previous opinion in Wit.
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                                              Parties may each file briefs of no more than five (5) pages addressing what, if any, impact
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                                       the new Wit opinion has on the pending renewed motion for class certification. Parties should file
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                                       their supplemental briefing no later than Monday, September 25, 2023.
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                                              IT IS SO ORDERED.
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                                       Date: August 29, 2023                            _______________________________________
                                  24                                                            YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT COURT JUDGE
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